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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

LONNIE H. HAMILTON, JR.                                                            PLAINTIFF
ADC #136181

VS.                                   4:21-CV-00846-BRW-JTK

WELLPATH                                                                            DEFENDANT

                                             ORDER

       Plaintiff has not responded to the Court’s September 24, 2021 Order directing him to

submit an Amended Complaint by October 24, 2021. (Doc. No. 4).1 Rule 5.5(c)(2) of the Local

Rules of the United States District Courts for the Eastern and Western Districts of Arkansas

provides as follows:

       It is the duty of any party not represented by counsel to promptly notify the Clerk
       and the other parties to the proceedings of any change in his or her address, to
       monitor the progress of the case and to prosecute or defend the action diligently . .
       . . If any communication from the Court to a pro se plaintiff is not responded to
       within thirty (30) days, the case may be dismissed without prejudice. . . .

       In light of Plaintiff=s failure to respond, Plaintiff’s Complaint is dismissed without

prejudice for failure to prosecute.

       IT IS SO ORDERED this 28th day of October, 2021.



                                              Billy Roy Wilson_________________
                                              UNITED STATES DISTRICT JUDGE




       1
        The Court further warned Plaintiff that if he failed to submit the document, this case would
be dismissed.
